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EXHIBIT A

Declaration of Bennet I. Omalu, M.D.
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DECLARATION OF BENNET I. OMALU, M.D.

My name is Bennet I. Omalu, MD and I was educated in Nigeria. I completed medical
school at the University of Nigeria Medical School in 1990. I completed residency and fellowship
training in Anatomic Pathology, Clinical Pathology, Forensic Pathology and Neuropathology at
the College of Physicians and Surgeons of Columbia University at Harlem Hospital Center, New
York City, and at the University of Pittsburgh, Pennsylvania. I also completed Masters in Public
Health and Masters in Business Administration degree programs at the University of Pittsburgh
and the Carnegie Mellon University respectively. I started working at the Allegheny County
Coroner’s Office in July 1999 under Dr. Cyril Wecht.

In 1999, I met Todd Luckasevic who was interning at the Allegheny County Coroner’s
office. At that time, Todd Luckasevic was assigned to work and learn under me. I also became
social friends with Todd Luckasevic who soon introduced me to his brother, Jason Luckasevic, a
young associate lawyer representing asbestos cancer victims. I soon thereafter developed a social
and professional relationship with Jason Luckasevic serving as an expert pathologist on some of
his medical-legal toxic tort cases,

In 2002, I discovered CTE in the brain of a former NFL player, Mike Webster, a
neurodegenerative disease that was similar to what was seen in the brains of boxers over a century
earlier. However, my distinct pathological findings identifying the distinctive neuropathology of
CTE did not come without great push back from the NFL after I first attempted to publish on my
findings in a peer-reviewed medical journal in 2005,

In late 2006, I was at Jason Luckasevic’s office meeting ona medical-legal matter. On that
very morning, the local newspaper published an article wherein doctors from the Pittsburgh

Steelers and the NFL criticized my second autopsy findings of CTE in the brain of Terry Long, a
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former Pittsburgh Steeler. Jason Luckasevic vowed at that time to vindicate my findings by
investigating the NFL’s liability to the players for covering up this chronic brain disease and lying
to players that their game was safe.

In these first years, I personally spent hundreds of hours going over the factual issues
surrounding the science and research involving chronic brain injury and repetitive trauma with
Jason Luckasevic that has been now covered in great detail in print and media.

During 2006 and 2007, I introduced Jason Luckasevic to many significant figures working
to spread the truth of CTE including Dr, Robert Cantu, Chris Nowinski, Dr. Julian Bailes, Bob
Fitzsimmons, and later on Dr. Daniel Amen. Jason Luckasevic became intimately familiar with
the disease CTE and the efforts to discredit my work after confirming this information from these
figures.

I then introduced Jason Luckasevic to many players. In my career, I deal with the dead, It
was always easier for Jason Luckasevic to speak with widows and players who sought me out with
- questions. I know I introduced him to the families of Andre Waters, Justin Strzelezyk, Terry Long
and many living players, including Vernon Maxwell, Fred and Tia McNeill and Rick Jones, who
were first hearing of this disease after reading the GQ article and watching the ESPN Outside the
Line’s special.

Jason Luckasevic at one point was prepared and ready to file a lawsuit on behalf of some
former players in 2007. However, my understanding that fear of the league and hope to fix the
irregulatories facing the retirees would be handled during Congressional hearings stalled Jason
Luckasevic’s lawsuit.

Nonetheless, 2008 and 2009 came with no new benefits or health insurance for the retired

players, no lawsuit and my move to California. Nonetheless, I continued my weekly, if not more
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frequent, communications with Jason Luckasevic. We talked and I spent hundreds of hours
helping him learn the science and medicine to bring him up to speed with the NFL’s attempted
mockery of my work.

By 2010, the NFL continued their bad press by overtly hiring purported medical doctors to
discredit my work publicly and tout that there was no link between football and brain disease. In
April, Jason Luckasevic spoke at a conference to retired players in Las Vegas at my
recommendation. Jason Luckasevic shared his case with at least 50 former players and spouses in
attendance. He answered all their questions distinguishing his case from worker’s compensation
and NFL disability claims. He explained his unique legal theories and how the case would be
brought on behalf of individual players who suffered CTE symptoms due to the NFL’s Fraud.

By 201 1, Jason Luckasevic had his team of experienced trial lawyers ready to file his
lawsuit. In July 2011, Jason Luckasevic came through on his promise to me to take on the NFL
and vindicate my name by filing the first lawsuit on players suffering from CTE.

There is no doubt Jason Luckasevic and his team were ready and capable to take the NFL
to ajury trial. In fact, they even retained me as their expert, should the case move forward to trial,
in an exclusive rights contract.

I have spoken with a dozen of the Country’s best lawyers over the years. However, no one
was quite as brilliant and eager as Jason Luckasevic to pull together this lawsuit against the NFL.

I am prepared to testify to these facts and attest to the thousands of hours I personally know
Jason Luckasevic spent developing his case from 2006 to 2012.

Despite media attention and Congressional hearings, it was mainly the lawsuit against the

NFL that brought the necessary attention to the public health crisis.
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In the end, I strongly attest that this case settled for fear of the truth being told of CTE in
football players, But for Jason Luckasevic’s significant efforts, the NFL would not have entered
into a significant monetary settlement.

Further this Affiant sayeth naught.

I declare under penalty of perjury that the following it true and correct.

Bennet I. Omalu, M.D.

Executed on August 27, 2016
